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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  RENZO BARBERI,

                 Plaintiff,

                 vs.

  J.F AUTO PARTS SERVICE, LLC, a
  Florida Limited Liability Company d/b/a
  PISTON GARAGE CAR CARE CENTER,
  MARLIN       ROAD        CONDOMINIUM
  ASSOCIATION, INC., a Florida Not For
  Profit Corporation, and ELVIN NOEL
  SANCHEZ, an Individual,

              Defendants.
  _______________________________/

                                            COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned counsel, hereby

  files this Complaint and sues J.F AUTO PARTS SERVICE, LLC d/b/a PISTON GARAGE CAR

  CARE CENTER (“J.F”), MARLIN ROAD CONDOMINIUM ASSOCIATION, INC. (“MARLIN

  ROAD”), and ELVIN NOEL SANCHEZ (“SANCHEZ”) (hereinafter, collectively referred to as

  “Defendants”) for declaratory and injunctive relief; for discrimination based on disability; and for

  the resultant attorney's fees, expenses, and costs (including, but not limited to, court costs and

  expert fees) pursuant to 42 U.S.C. §12181 et. seq. ("AMERICANS WITH DISABILITIES ACT

  OF 1990," or "ADA") and alleges:



  JURISDICTION
  1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C. §1331

  and §1343 for Plaintiff’s claims arising under Title 42 U.S.C. §12181 et. seq., based on

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  Defendants’ violations of Title III of the Americans with Disabilities Act of 1990 (hereinafter

  referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202.



  VENUE
  2.      The venue of all events giving rise to this lawsuit is located in Miami-Dade County,

  Florida. Pursuant to 28 U.S.C. §1391(B) and Rule 3.1 of Local Rules of the United States District

  Court for the Southern District of Florida, this is the designated court for this suit.



  PARTIES
  3.     Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the time of Plaintiff’s

  visit to Piston Garage Car Center (“Subject Facility”), Plaintiff suffered from a “qualified

  disability” under the ADA and required the use of a wheelchair for mobility. Specifically, Plaintiff

  suffers from paraplegia due to a severed T4 and T5 and is therefore confined to his wheelchair.

  Plaintiff personally visited Piston Garage Car Center but was denied full and equal access and full

  and equal enjoyment of the facilities, services, goods, and amenities within Piston Garage Car

  Center, which is the subject of this lawsuit. The Subject Facility is an auto repair, and Plaintiff

  wanted to inquire about their services but was unable to due to the discriminatory barriers

  enumerated in Paragraph 15 of this Complaint.



  4.     In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the rights of similarly

  situated disabled persons and is a “tester” for the purpose of asserting his civil rights and

  monitoring, ensuring, and determining whether places of public accommodation are in compliance

  with the ADA.



  5.     The Defendants, J.F, MARLIN ROAD, and SANCHEZ are authorized to conduct business

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  and are in fact conducting business within the State of Florida. The Subject Facility is located at

  18728 SW 107th Avenue, Cutler Bay, FL 33157. Upon information and belief, J.F is the lessee

  and/or operator of the Real Property and therefore held accountable of the violations of the ADA

  in the Subject Facility which is the matter of this suit. Upon information and belief, SANCHEZ

  and MARLIN ROAD are the owners and lessors of the Real Property where the Subject Facility

  is located and therefore held accountable for the violations of the ADA in the Subject Facility

  which is the matter of this suit.



  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT


  6.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 5 of this

  complaint, as are further explained herein.



  7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act ("ADA"), 42

  U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from enactment

  of the statute to implement its requirements. The effective date of Title III of the ADA was January

  26, 1992, or January 26, 1993 if Defendants had ten (10) or fewer employees and gross receipts of

  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).



  8.      As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found, among other things,

  that:

          i. some 43,000,000 Americans have one or more physical or mental disability, and this
            number shall increase as the population continues to grow and age;

          ii. historically, society has tended to isolate and segregate individuals with disabilities and,
             despite some improvements, such forms of discrimination against disabled individuals
             continue to be a pervasive social problem, requiring serious attention;

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         iii. discrimination against disabled individuals persists in such critical areas as
            employment, housing, public accommodations, transportation, communication,
            recreation, institutionalization, health services, voting and access to public services and
            public facilities;

         iv. individuals with disabilities continually suffer forms of discrimination, including:
           outright intentional exclusion; the discriminatory effects of architectural, transportation,
           and communication barriers; failure to make modifications to existing facilities and
           practices; exclusionary qualification standards and criteria; segregation, and regulation
           to lesser services, programs, benefits, or other opportunities; and,

         v. the continuing existence of unfair and unnecessary discrimination and prejudice denies
           people with disabilities the opportunity to compete on an equal basis and to pursue those
           opportunities for which this country is justifiably famous and costs the United States
           billions of dollars in unnecessary expenses resulting from dependency and non-
           productivity.

  9.     As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated that the purpose

  of the ADA was to:

         i. provide a clear and comprehensive national mandate for the elimination of
           discrimination against individuals with disabilities;

         ii. provide clear, strong, consistent, enforceable standards addressing discrimination
            against individuals with disabilities; and,

         iii. invoke the sweep of congressional authority, including the power to enforce the
            fourteenth amendment and to regulate commerce, in order to address the major areas of
            discrimination faced on a daily basis by people with disabilities.

  10.    Pursuant to 42 U.S.C. §12181(7) and 28 CFR §36.104, Title III, no individual may be

  discriminated against on the basis of disability with regards to the full and equal enjoyment of the

  goods, services, facilities, or accommodations of any place of public accommodation by any

  person who owns, leases (or leases to), or operates a place of public accommodation. Piston Garage

  Car Center is a place of public accommodation by the fact it is an establishment that provides

  goods/services to the general public, and therefore, must comply with the ADA. The Subject

  Facility is open to the public, its operations affect commerce, and it is a service establishment. See

  42 U.S.C. Sec. 12181(7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public

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  accommodation that must comply with the ADA.



  11.     The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at Piston Garage Car Center

  located at 18728 SW 107th Avenue, Cutler Bay, FL 33157, as prohibited by 42 U.S.C. §12182

  and 42 U.S.C. §12101 et. seq.; by failing to make reasonable modifications in policies, practices,

  or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and by failing to remove architectural

  barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  12.     Plaintiff has visited the Subject Facility and has been denied full, safe, and equal access to

  the facility and therefore suffered an injury in fact.



  13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and enjoy the goods and/or

  services at the Subject Facility within the next six months. The Subject Facility is in close

  proximity to Plaintiff’s residence and is in an area frequently travelled by Plaintiff. Furthermore,

  Plaintiff will also return to monitor compliance with the ADA. However, Plaintiff is precluded

  from doing so by the Defendants' failure and refusal to provide people with disabilities with full

  and equal access to their facility. Therefore, Plaintiff continues to suffer from discrimination and

  injury due to the architectural barriers, which are in violation of the ADA.



  14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

  Justice, Office of the Attorney General, promulgated Federal Regulations to implement the



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  requirements of the ADA. The ADA Accessibility guidelines (hereinafter referred to as

  “ADAAG”), 28 C.F.R. Part 36, may cause violators to obtain civil penalties of up to $55,000 for

  the first violation and $110,000 for any subsequent violation.



  15.      The Defendants are in violation of 42 U.S.C. §12181 et. seq. and 28 C.F.R. 36.302 et. seq.

  and are discriminating against Plaintiff with the following specific violations which Plaintiff

  personally encountered and/or has knowledge of:

        a) The customer parking facility for the business does not provide a compliant accessible

           parking space. 2010 ADA Standards 502.1

        b) The main customer parking in front of the building has eighteen (18) marked standard

           parking spaces, five (5) unmarked spaces and zero (0) accessible parking spaces. 2010

           ADA Standards 208.2

        c) The parking facility does not have the minimum number of compliant accessible parking

           spaces required. One (1) accessible parking space with adjacent access aisle is required in

           the main customer parking lot. 2010 ADA Standards 208.2

        d) The parking facility does not provide directional and informational signage to a compliant

           accessible parking space. 2010 ADA Standards 216.5

        e) There is no compliant access aisle attached to an accessible route serving any existing

           parking space which would allow safe entrance or exit of vehicle for accessible persons

           requiring mobility devices. 2010 ADA Standards 502.2

        f) There is currently no existing accessible route to help persons with disabilities enter the

           facility or safely maneuver through the parking area. At least one accessible route must be

           provided within the site from accessible parking spaces and accessible passenger loading



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           zones; public streets and sidewalks; and public transportation stops to the accessible

           building or facility entrance they serve. 2010 ADA Standards 206.2.1

        g) The customer entrance is non-compliant. There is a non-compliant change in level at the

           outside entrance door threshold. Having one step at the entrance can prevent access by a

           person using a wheelchair, walker, or cane and can make entry difficult for many other

           people with mobility disabilities. 2010 ADA Standards 303.1

        h) The outside entrance door has non-compliant panel-type door hardware. Operable parts

           must be operable with one hand and not require tight grasping, pinching, or twisting of the

           wrist. 2012 ADA Standards 309.4

        i) The overhead garage door of the building is non-compliant. There is a step up from the

           driveway to the shop floor. Changes in level of 1/4 inch high maximum are permitted to be

           vertical along an accessible route. 2010 ADA Standards 302.2

        j) If customers are allowed in the shop there is no compliant access. 2010 ADA Standards

           505.2

        k) The facility does not provide compliant directional and informational signage to an

           accessible route which would lead to an accessible entrance. Where not all entrances

           comply, compliant entrances must be identified by the International Symbol of

           Accessibility. Directional signs that indicate the location of the nearest compliant entrance

           must be provided at entrances that do not comply. 2010 ADA Standards 216.6



  16.      Upon information and belief there are other current violations of the ADA at Piston Garage

  Car Center which Plaintiff would encounter but for the discriminatory barriers in paragraph 15

  which prevent Plaintiff’s access to such additional violations. An inspection can identify all such



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  violations which would be encountered by Plaintiff if the discriminatory barriers in Paragraph 15

  did not prevent Plaintiff’s access to them. Accordingly, a complete list of violations which are

  discriminatory to Plaintiff will require an on-site inspection by Plaintiff’s representatives pursuant

  to Rule 34b of the Federal Rules of Civil Procedure.



  17.    Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers

  and violations is readily achievable and technically feasible. To date, the readily achievable

  barriers and other violations of the ADA still exist and have not been remedied or altered in such

  a way as to effectuate compliance with the provisions of the ADA.



  18.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq. and 28 C.F.R. §36.304, the Defendants

  were required to make the establishment a place of public accommodation, accessible to persons

  with disabilities by January 28, 1992. As of this date, the Defendants have failed to comply with

  this mandate.



  19.    Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution

  of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs, and expenses paid

  by the Defendants pursuant to 42 U.S.C. §12205.



  20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  injunctive relief, including an Order to alter the subject facilities to make them readily accessible

  and useable by individuals with disabilities to the extent required by the ADA, closing the Subject

  Facility until the requisite modifications are completed, entering an Order directed at maintenance



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  and future compliance, and entering an Order for the Defendants to make reasonable modifications

  in policies, practices, or procedures.



                               COUNT I - DECLARATORY RELIEF


  21.    Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  22.    The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at the Subject Facility, as

  prohibited by 42 U.S.C. §12182 and 42 U.S.C. §12101 et. seq.; by failing to make reasonable

  modifications in policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and

  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  23.    By failing to remove the architectural barriers set forth in paragraph 15, by failing to make

  reasonable modifications in policies, practices, or procedures to address discriminatory practices,

  and by failing to ensure compliance with the mandates of the ADA, the Defendants have

  discriminated and continue to discriminate against Plaintiff by denying access to, and full and

  equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at

  the Subject Facility.



  24.    Unless declared that the Subject Facility owned, operated and/or controlled by the

  Defendants is in violation of the ADA, the Defendants shall continue to discriminate against


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  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court declare that the Subject Facility owned, operated, and/or controlled by the

  Defendants is in violation of Title III of the ADA and award reasonable attorney's fees, all costs

  (including, but not limited to court costs and expert fees), and other expenses of suit, to Plaintiff.



     COUNT II - INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL BARRIERS


  25.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  26.     By failing to remove the architectural barriers set forth in paragraph 15, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  27.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility

  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  28.     Injunctive relief requiring the Defendants to remove the architectural barriers set forth in


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  paragraph 15 is necessary to make the Subject Facility accessible to and usable by individuals with

  disabilities to the full extent required by Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to alter the Subject Facility and remove

  architectural barriers to make the Subject Facility accessible to and usable by individuals with

  disabilities to the full extent required by Title III of the ADA and award reasonable attorney's fees,

  all costs (including, but not limited to court costs and expert fees), and other expenses of suit, to

  Plaintiff.



          COUNT III - INJUNCTIVE RELIEF TO MODIFY POLICIES, PRACTICES AND
                                            PROCEDURES


  29.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  30.     By failing to make reasonable modifications in policies, practices, or procedures to address

  discriminatory practices and to ensure compliance with the mandates of the ADA, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  31.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment



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  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility

  by failing to make reasonable modifications in policies, practices, or procedures pursuant to 42

  U.S.C. §12182(b)(2)(A)(ii).



  32.     Injunctive relief requiring the Defendants to make reasonable modifications in policies,

  practices, or procedures to address discriminatory practices is necessary to make the Subject

  Facility accessible to and usable by individuals with disabilities to the full extent required by Title

  III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to evaluate, neutralize, and modify their

  policies, practices, and procedures as are necessary to make the Subject Facility accessible to and

  usable by individuals with disabilities to the full extent required by Title III of the ADA and award

  reasonable attorney's fees, all costs (including, but not limited to court costs and expert fees), and

  other expenses of suit, to Plaintiff.



                 COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  33.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  34.     By failing to remove the architectural barriers set forth in paragraph 15, by failing to make

  reasonable modifications in policies, practices, or procedures to address discriminatory practices,

  and by failing to ensure compliance with the mandates of the ADA, the Defendants have


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  discriminated and continue to discriminate against Plaintiff by denying access to, and full and

  equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at

  the Subject Facility.



  35.    Even if the Defendants remove the architectural barriers set forth in paragraph 15 and make

  reasonable modifications in policies, practices, or procedures to address discriminatory practices,

  it is clear that the Defendants will fail to maintain compliance with the ADA by allowing physical

  alterations to revert back into noncompliance and by failing to enforce any modifications in

  policies, practices, or procedures.



  36.    Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility

  by failing to maintain compliance with the ADA by allowing physical alterations to revert into

  noncompliance and by failing to enforce any modifications in policies, practices, or procedures.



  37.    Injunctive relief requiring the Defendants to maintain compliance is necessary to make the

  Subject Facility accessible to and usable by individuals with disabilities to the full extent required

  by Title III of the ADA.



         WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to maintain the alterations and

  modifications required to keep the Subject Facility accessible to and usable by individuals with



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  disabilities and in compliance with Title III of the ADA and award reasonable attorney's fees, all

  costs (including, but not limited to court costs and expert fees), and other expenses of suit, to

  Plaintiff.




  Dated this October 11, 2024.


  Respectfully submitted by:

  Ronald E. Stern
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  RENZO BARBERI,

                 Plaintiff,

                 vs.

  J.F AUTO PARTS SERVICE, LLC, a
  Florida Limited Liability Company d/b/a
  PISTON GARAGE CAR CARE CENTER,
  MARLIN       ROAD        CONDOMINIUM
  ASSOCIATION, INC., a Florida Not For
  Profit Corporation, and ELVIN NOEL
  SANCHEZ, an Individual,

              Defendants.
  _______________________________/

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 11, 2024, I electronically filed the Complaint along
  with a Summons for each Defendant with the Clerk of Court using CM/ECF. I also certify that the
  aforementioned documents are being served on all counsel of record, corporations, or pro se parties
  identified on the attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents will be served
  either via transmission of Notices of Electronic Filing generated by CM/ECF or via U.S. Mail for
  those counsel or parties who are not authorized to receive electronically Notices of Electronic
  Filing.



  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI



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                                        SERVICE LIST:

     RENZO BARBERI, Plaintiff, vs. J.F AUTO PARTS SERVICE, LLC, a Florida Limited
      Liability Company d/b/a PISTON GARAGE CAR CARE CENTER, MARLIN ROAD
    CONDOMINIUM ASSOCIATION, INC., a Florida Not For Profit Corporation, and ELVIN
                               NOEL SANCHEZ, an Individual

                     United States District Court Southern District of Florida

                                            Case No.


  J.F AUTO PARTS SERVICE, LLC d/b/a PISTON GARAGE CAR CARE CENTER

  REGISTERED AGENT:

  SIERVO, LUCIANO A.
  18728 SW 107TH AVE
  MIAMI, FL 33157

  VIA PROCESS SERVER


  MARLIN ROAD CONDOMINIUM ASSOCIATION, INC.

  REGISTERED AGENT:

  LAW OFFICE OF MICHAEL REHR, PA
  9500 S. DADELAND BLVD
  SUITE 550
  MIAMI, FL 33156

  VIA PROCESS SERVER


  ELVIN NOEL SANCHEZ

  12874 SW 207 TER
  MIAMI, FL 33173

  VIA PROCESS SERVER




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